° EXHIBIT 1 Case 1:14-cr-00068-LGS Document 302-1 Filed 02/05/18 Pagelof1

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Juror ID: {34

YOUR FULL NAME:

(PLEASE PRINT LEGIBLY USING DARK INK)
United States v. Ross Ulbricht
JUROR QUESTIONNAIRE
PRELIMINARY INSTRUCTIONS:

_ Please print your name and juror number in the space provided at the top of each page. Please
answer each question by placing an “X” next to your response or by providing the information
requested. Please answer each question fully. Some questions have more than one part.

“YOU ARE SWORN TO GIVE TRUE AND COMPLETE ANSWERS TO ALL
QUESTIONS IN THIS QUESTIONNAIRE. This questionnaire is designed to help simplify
and shorten the jury selection process. The purpose of this questionnaire is to determine whether
prospective jurors can decide this case impartially based upon the evidence presented at trial and
the legal instructions given by the presiding judge. The questions are not intended to inquire
unnecessarily into personal matters. Although some of the questions may appear to be of a
personal nature, please understand that the Court and the parties must learn enough information
about each juror’s background and experiences to select a fair and impartial jury.

ALL INFORMATION CONTAINED IN THIS QUESTIONNAIRE WILL BE KEPT
CONFIDENTIAL AND UNDER SEAL.

Please answer all questions to the best of your ability. If you do not know the answer to a
question then write, “I don’t know.” There are no “right” or “wrong” answers, only truthful
answers. Do not discuss the case or your answers with anyone. It is important that the answers be
yours alone. Remember, you are sworn to give true and complete answers to all questions.

DO NOT DISCUSS YOUR QUESTIONS AND ANSWERS OR THE CASE WITH
ANYONE, NOW OR UNTIL FURTHER INSTRUCTED BY THE COURT, AND DO

NOT DO YOUR OWN RESEARCH ON THE CASE. The Court instructs you not to discuss
the questions and answers with fellow jurors. It is very important that your answers be your own
individual answers. Do not discuss the case with anyone, including the lawyers (except in the
presence of the Court), your fellow jurors, your family, your friends, or anyone else. You must
also avoid reading about the case in newspapers or on the internet, or listening to any radio or
television reports about the case.

United States v. Ross Ulbricht

